
The petition for belated appeal of the denial of petitioner's postconviction motion after evidentiary hearing, order dated July 28, 2017, is granted in circuit court case number CF-05-006892-XX. This order shall serve as a notice of appeal for purposes of calculating the time standards of the Florida Rules of Appellate Procedure. The attorney who filed the petition for belated appeal will be recognized as counsel of record for the appellant when the new proceeding is initiated in this court.
The circuit court clerk shall treat this order as a notice of appeal, promptly certify same and return it to this court as with any notice of appeal, accompanied by any order of indigency that may have been entered by the circuit court, and a new appellate case number will be assigned to this appeal and an acknowledgment letter will issue at that time.
LaROSE, C.J., and CASANUEVA and SALARIO, JJ., Concur.
